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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

Plaintiffs, Case No.: 18-cv-5878
v. Judge Robert W. Gettleman
THE PARTNERSHIPS AND UNINCORPORATED Magistrate Judge Mary M. Rowland

ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,
Defendants.

FINAL JUDGMENT ORDER

This action having been commenced by WHAM-O HOLDING, LTD. and INTERSPORT
CORP. d/b/a WHAM-O (“WHAM-O” or “Plaintiffs”) against the defendants identified in the
attached First Amended Schedule A and using the Defendant Domain Names and Online
Marketplace Accounts (collectively, the “Defendant Internet Stores”), and WHAM-O having
moved for entry of Default and Default Judgment against the defendants identified in the First
Amended Schedule A attached hereto (collectively, the “Defaulting Defendants”);

This Court having entered upon a showing by WHAM-O, a temporary restraining order
and preliminary injunction against Defaulting Defendants which included a domain name
transfer order and asset restraining order;

WHAM.-O having properly completed service of process on Defaulting Defendants, the
combination of providing notice via electronic publication or e-mail, along with any notice that
Defaulting Defendants received from domain name registrars and payment processors, being

notice reasonably calculated under all circumstances to apprise Defaulting Defendants of the
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pendency of the action and affording them the opportunity to answer and present their
objections; and

None of the Defaulting Defendants having answered the Complaint or appeared in any
way, and the time for answering the Complaint having expired;

THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting
Defendants since Defaulting Defendants directly target their business activities toward
consumers in the United States, including Illinois. Specifically, Defaulting Defendants are
reaching out to do business with Illinois residents by operating one or more commercial,
interactive Defendant Internet Stores through which Illinois residents can purchase products
bearing counterfeit versions of WHAM-O’s trademarks which are protected by U.S. Trademark
Registration No. 739,307 (the “HULA HOOP Trademark”).

THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful
federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin
(15 U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815
ILCS § 510, et seq.).

IT IS HEREBY ORDERED that WHAM-O’s Motion for Entry of Default and Default
Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and
that this Final Judgment is entered against Defaulting Defendants.

IT IS FURTHER ORDERED that:
1. Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,
confederates, and all persons acting for, with, by, through, under, or in active concert

with them be permanently enjoined and restrained from:
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using the HULA HOOP Trademark or any reproductions, counterfeit copies or
colorable imitations thereof in any manner in connection with the distribution,
marketing, advertising, offering for sale, or sale of any product that is not a genuine
WHAM-O Product or not authorized by WHAM-O to be sold in connection with the
HULA HOOP Trademark;

passing off, inducing, or enabling others to sell or pass off any product as a genuine
WHAM-O Product or any other product produced by WHAM-O, that is not WHAM-
O’s or not produced under the authorization, control or supervision of WHAM-O and
approved by WHAM-O for sale under the HULA HOOP Trademark;

committing any acts calculated to cause consumers to believe that Defaulting
Defendants’ products are those sold under the authorization, control or supervision of
WHAM-O, or are sponsored by, approved by, or otherwise connected with WHAM-
O;

further infringing the HULA HOOP Trademark and damaging WHAM-O’s goodwill;
otherwise competing unfairly with WHAM-O in any manner;

shipping, delivering, holding for sale, transferring or otherwise moving, storing,
distributing, returning, or otherwise disposing of, in any manner, products or
inventory not manufactured by or for WHAM-O, nor authorized by WHAM-O to be
sold or offered for sale, and which bear any of the HULA HOOP Trademark or any
reproductions, counterfeit copies or colorable imitations thereof;

using, linking to, transferring, selling, exercising control over, or otherwise owning
the Online Marketplace Accounts, the Defendant Domain Names, or any other

domain name or online marketplace account that is being used to sell or is the means
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by which Defaulting Defendants could continue to sell Counterfeit/Infringing
Products; and

operating and/or hosting websites at the Defendant Domain Names and any other
domain names registered or operated by Defaulting Defendants that are involved with
the distribution, marketing, advertising, offering for sale, or sale of any product
bearing the HULA HOOP Trademark or any reproductions, counterfeit copies or
colorable imitations thereof that is not a genuine WHAM-O Product or not authorized

by WHAM-O to be sold in connection with the HULA HOOP Trademark.

The domain name registries for the Defendant Domain Names, including, but not limited

to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

Interest Registry, within three (3) business days of receipt of this Order, shall, at WHAM-

O’s choosing:

a.

b.

permanently transfer the Defendant Domain Names to WHAM-O’s control, including
unlocking and changing the registrar of record for the Defendant Domain Names to a
registrar of WHAM-O’s selection, and the domain name registrars shall take any
steps necessary to transfer the Defendant Domain Names to a registrar of WHAM-
O’s selection; or

cancel the registrations for the Defendant Domain Names and make them inactive.

Those in privity with Defaulting Defendants and with actual notice of this Order,

including any online marketplaces such as iOffer and Alibaba Group Holding Ltd.,

Alipay.com Co., Ltd. and any related Alibaba entities (collectively, “Alibaba”), social

media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as

Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and domain name

registrars, shall within three (3) business days of receipt of this Order:

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a. disable and cease providing services for any accounts through which Defaulting
Defendants engage in the sale of counterfeit and infringing goods using the HULA
HOOP Trademark, including any accounts associated with the Defaulting Defendants
listed on the First Amended Schedule A attached hereto;

b. disable and cease displaying any advertisements used by or associated with
Defaulting Defendants in connection with the sale of counterfeit and infringing goods
using the HULA HOOP Trademark; and

c. take all steps necessary to prevent links to the Defendant Domain Names identified
on the First Amended Schedule A from displaying in search results, including, but not
limited to, removing links to the Defendant Domain Names from any search index.

Pursuant to 15 U.S.C. § 1117(c)(2), WHAM-O is awarded statutory damages from each

of the Defaulting Defendants in the amount of one million dollars ($1,000,000) for

willful use of counterfeit HULA HOOP Trademark on products sold through at least the

Defendant Internet Stores.

Western Union shall, within two (2) business days of receipt of this Order, permanently

block any Western Union money transfers and funds from being received by the

Defaulting Defendants identified on the First Amended Schedule A.

Amazon Payments, Inc. (“Amazon”), ContextLogic, Inc. (“WISH”), PayPal, Inc.

(“PayPal”) and/or Alipay’ US, Inc. (“Alipay”) shall, within two (2) business days of

receipt of this Order, permanently restrain and enjoin any accounts connected to

Defaulting Defendants, Defaulting Defendants’ Online Marketplace Accounts or

Defaulting Defendants’ websites identified in the First Amended Schedule A from

transferring or disposing of any money or other of Defaulting Defendants’ assets.
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All monies currently restrained in Defaulting Defendants’ financial accounts, including

monies held by Amazon and Alipay, are hereby released to WHAM-O as partial payment

of the above-identified damages, and Amazon and Alipay is ordered to release to

WHAM-O the amounts from Defaulting Defendants’ Amazon and Alipay accounts

within ten (10) business days of receipt of this Order.

Until WHAM-O has recovered full payment of monies owed to it by any Defaulting

Defendant, WHAM-O shall have the ongoing authority to serve this Order on Amazon

and Alipay in the event that any new accounts controlled or operated by Defaulting

Defendants are identified. Upon receipt of this Order, Amazon and Alipay shall within

two (2) business days:

a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting
Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,
including, but not limited to, any Amazon and Alipay accounts;

b. Restrain and enjoin such accounts or funds from transferring or disposing of any
money or other of Defaulting Defendants’ assets; and

c. Release all monies restrained in Defaulting Defendants’ Amazon and Alipay accounts
to WHAM-O as partial payment of the above-identified damages within ten (10)
business days of receipt of this Order.

d. Upon Plaintiffs' request, the Internet marketplace website operators and/or
administrators for the Seller IDs shall disable and/or cease facilitating access to the
Seller IDs, including any other alias seller identification names being used and/or
controlled by Defendants to engage in the business of marketing, offering to sell,
and/or selling goods bearing and/or using counterfeits and infringements of Plaintiffs

HULA HOOP Trademark.
10.

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Until WHAM-O has recovered full payment of monies owed to it by any Defaulting
Defendant, WHAM-O shall have the ongoing authority to serve this Order on any banks,
savings and loan associations, or other financial institutions (collectively, the “Financial
Service Providers”) in the event that any new financial accounts controlled or operated by
Defaulting Defendants are identified. Upon receipt of this Order, the Financial Service
Providers shall within two (2) business days:

a. Locate all accounts connected to Defaulting Defendants, Defaulting Defendants’
Online Marketplace Accounts or Defaulting Defendants’ websites;

b. Restrain and enjoin such accounts from receiving, transferring or disposing of any
money or other of Defaulting Defendants’ assets; and

c. Release allmonies restrained in Defaulting Defendants’ financial accounts to
WHAM-O as partial payment of the above-identified damages within ten (10)
business days of receipt of this Order.

d. Upon Plaintiffs’ request, the Internet marketplace website operators and/or
administrators for the Seller IDs shall disable and/or cease facilitating access to the
Seller IDs, including any other alias seller identification names being used and/or
controlled by Defendants to engage in the business of marketing, offering to sell,
and/or selling goods bearing and/or using counterfeits and infringements of Plaintiffs’
HULA HOOP Trademark.

In the event that WHAM-O identifies any additional online marketplace accounts,

domain names or financial accounts owned by Defaulting Defendants, WHAM-O may

send notice of any supplemental proceeding to Defaulting Defendants by e-mail at the

email addresses identified in Exhibit 2 to the Declaration of Todd Richards and any e-

mail addresses provided for Defaulting Defendants by third parties.

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11. The bond posted by Plaintiffs in the amount of $10,000.00 is hereby ordered released by
the Clerk to Plaintiffs or Plaintiffs’ counsel.

This is a Final Judgment.

Dated: aad \S 2018
Vl, Gott

United States District Court Judge

 

 
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FIRST AMENDED SCHEDULE A

DEFENDANTS
advancedshop

Angelwing
Aowark

BaiJieHuLiYongPinDian
BestSellerAMZ

Binglinghua®
Blue Magpie
BoatShop

East Golden Tire
Easyflower
Edison pYd
Elliot Cotton

FJTANG
FRD Direct

Haotianyuan

hetingting
Hong Wang E.C.
hongme

Jiang Congchao
Ju An Si Wei2017
LEOSO Store

Li Wanshu
Lolicute
LOOKTARN
Lukalook
MaximumStore
mxsupermarket

 
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814 | Natasha_Store
815 | NHeStore
816 | Nokiko888

 

 

 

 

818 | OUMOUM
819 | PIAOFENGLING

821 Preeyawadee

 

 

 

 

822 | qiaoW
823 Redriver
824 Sanadeson
825 Sarora

827 Smartwin Tec

 

 

 

 

 

 

 

 

828 | SOVS
829 | spraypaint
830 =| StarArk
831 SZYT

832 | TEDLA

834 tradeaco

 

 

 

835 Treeon
836 ULKEME
837 Urvogue

 

838 | VarichLotus
839 | WelcomeSuperStore

 

841 Worldshops
842 Yanoen
843 Yate Store

 

 

 

 

 

 

847 | chkj0755

 

848 | Devil's Gym House

849 | fboon Global Store

850 | footballgood

851 JAYSON Store

852 | Jinan Bingxin International Business Co., Ltd.
853 Lanxi Tang Zheng Ge Plastic Product Factory

 

 

 

 

 

 

 

 

 

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854 | Lchengyi Store

855 | Nantong Hanjin Sporting Fitness Co., Ltd.

856 | Nantong Health Sports Goods Co., Ltd.

857 _| Nantong Ican Fitness Co., Ltd.

858 | Nantong Ruilin International Co., Ltd.

859 | Ningbo Jiagi Imp. & Exp. Trading Co., Ltd.

860 | onebuyone

861 | Rizhao Multielement Sporting Goods Co., Ltd.

862 | Shantou Chenghai Sijiali Plastic Factory

863 | Shantou Jinyu Trading Co., Ltd.

864 | Shantou Longhu Xuchang Toy Firm

865 | Shantou Yuantu Plastic Industry Co., Ltd.

866 | Shenzhen JYC Technology Ltd. (Protector Branch)
867 | Shenzhen Xinhualong Electronic Co., Ltd.

868 | Suzhou Kylin Electronic Technology Co., Ltd.

869 | SZ Superzyy N1 Store

870 | Thick Fish Store

871 | Windys Legends Kid365 Store

Ber CaP ite eben Mey ene resend
873 | Yiwu Jianyu Imp & Exp Co., Ltd.

874 | Yiwu Qida Electronics Co., Ltd

875 | Yiwu Songgang Sports Co., Ltd.

876 | Zhejiang Yiwu Sintai Sports Equipment Factory

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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